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     ~o 245B (CASD) (Rev. 12/11) Judgment in a Criminal Case
               Sheet 1



                                              UNITED STATES DISTRICT COUR14 f                                                  25 PH 2: 27
                                                  SOUTHERN DISTRICT OF CALIFORNIA                                        1)(                .
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMMiL CASE
                                        v.                                        (For Offenses Committed On or After November 1, 19~7),

                  JAIME ANTONIO MEZA-VEGA (I)                                     Case Number: J3CR4544-DMS
                                                                                   Ricardo M Gonzalez CJA
                                                                                   Defendant's Attorney
    REGISTRAnON NO. 31944298

    D
    THE DEFENDANT:
    181 pleaded guilty to count(s) 1 of the Superseding Information
     D    was found guilty on oount(s),_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
          after a plea of not guilty.
          Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                            Count
    Title & Section                          Nature of Offense                                                                             Number(sl
46 USC 70503 and 70506                POSSESSION OF MARIJUANA ON A VESSEL                                                                  IS




        The defendant is sentenced as provided in pages 2 through _ _.. .:4_ _ ofthisjudgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count(s)
 181 Count(s) in underlying Information                ----------------------------------------------
                                                                   is [81 areD dismissed on the motion ofthe United States.
  [81 Assessment: $100.00.


  181 Fine waived.                                  D   Forfeiture pursuant to order filed
                                                                                                 ---------                     , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               APRIL 25, 2014




                                                                             HON. DANA M. SABRAW
                                                                              UNITED STATES DISTRICT JUDGE

                                                                                                                                                13CR4544-DMS
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AO 245B (CASD)(Rev. 12/11) Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                                 Judgmcnt·- Page _   .....2_ of   4
 DEFENDANT: JAIME ANTONIO MEZA-VEGA (1)
 CASE NUMBER: 13CR4544-DMS
                                                         IMPRISONMENT                   i
         The defendant is hereby committed to the custody of the United States Burea~ of Prisons to be imprisoned for a term of
         SEVENTY (70) MONTHS.




    o Sentence imposed pursuant to Title 8 USC Section 1326(b).
    o The court makes the following recommendations to the Bureau of Prisons:


    o   The defendant is remanded to the custody of the United States Marshal.

    o The defendant shall surrender to the United States Marshal for this district;
           Oat                                    Dam.       Op.m.         on _ _ _ _ _- - - - - - ­
               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o    before
                   -------------------------------------------+----------------------------­
          o as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:

         Defendant delivered on                                                    to

 at _____________________ , with a certified copy of this judgmenl.


                                                                                               UNITED STAlES MARSHAL


                                                                      By _______~~~~~~~~____- - - - - - - - ­
                                                                                            DEPUTY UNITED STATES MARSHAL




                                                                                                                           13CR4544-DMS
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AO 2458 (CASD) (Rev. 12/11) Judgment in a Criminal Case
           Sheet 3 - Supervised Release


DEFENDANT: JAIME ANTONIO MEZA-VEGA (1)                                                                        II
CASE NUMBER: 13CR4544-DMS                                                                        I
                                                          SUPERVISED RELEAS~
Upon release from imprisonment, the defendant shall be on supervised release for a tet of:
THREE (3) YEARS.                                                                                  i

         The defendant shall report to the probation office in the district to which the
the custody of the Bureau of Prisons.                                                    .
                                                                                                d~fendant is released within 72 hours of release from
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall rdfrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days ofrelease from i~prisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission pf more than _4_ drug tests per month during
the term of supervision, unless otherwise ordered by court.                             I
o The above drug testing condition is suspended, based on the court's determination! that the defendant poses a low risk of
       future substance abuse. (Check, if applicable.)                                            I


Igj    The defendant shall not possess a firearm, ammunition, destructive device, or any          ~ther   dangerous weapon.
Igj    The defendant shall cooperate in the collection of a DNA sample from the defendant, purs$ant to section 3 of the DNA Analysis

o      Backlog Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d). I
       The detendant shall comply with tlie requirements of the Sex Offender Registration ani! Nqtification Act (42 U.S.c. § 16901, et seq.) as directed
       by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
       was convicted of a qualifying offense. (Check if applicable.)                                I
o      The defendant shall participate in an approved program for domestic violence. (Cpeck, if applicable.)
          If this judgment imposes a fine or restitution obligation. it is a condition of SUPfi rvised release that the defendant pay any such fme
or restitution that remains unpaid at the commencement of the term of supervised releas in accordance with the Schedule of Payments set
forth in this judgment.
                                                                                                      i
         The defendant must comply with the standard conditions that have been adoptei by this court. The defendant shall also comply with
any special conditions imposed.

                                        STANDARD CONDITIONS OF SUP,RVISION
  1)     the defendant shall not leave the judicial district without the permission of the cohrt or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency direfted by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and fol'ow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsi~ilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by theiprobation officer for schooling, training, or other
         acceptable reasons;                                                             •
  6)     the defendant shall notify the probation officer at least ten days prior to any     chan~e in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, ~ossess. use, distribute, or administer any
         controlled substance or any paraphernalia related to any controlled substances, e~cept as prescribed by a physician;
                                                                                                          I
  8)     the defendant shall not frequent places where controlled substances are illegally spld, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity antl shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;             I
 10)     the defendant shall permit a probation officer to visit him or her at any time at hom~ or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;                                      I
 11)     the defendant shall notify the probation officer within seventy-two hours of being a~rested or questioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an infurmer or a speci~I agent of a law enforcement agency without the
         permission of the court; and                                                      I
 13)     as directed by the probation officer, the defendant shall notifY third parties of risks tt·at may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation offic r to make such notifications and to confirm the
         defendant's compliance with such notification requirement.

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       AO 245B (CASD) (Rev. 12/11 Judgment in a Criminal Case
                  Sheet 4   Special Conditions
                                                                                                         Judgment-Page - L - of _ _4.:.-_ _
       DEFENDANT: JAIME ANTONIO MEZA-VEGA (1)                                                      ID
       CASE NUMBER: 13CR4544-DMS




                                             SPECIAL CONDITIONS OF SUPE VISION
o
                                                                                            l
    Submit person, property, residence, office or vehicle to a search, conducted by a Unite States Probation Officer at a reasonable time and in
    a reasonable manner, based upon reasonable suspicion of contraband or evidence of a v olation of a condition of release; failure to submit to
    a search may be grounds for revocation; the defendant shall warn any other residents th t the premises may be subject to searches pursuant to
    this condition.                                                                        •

~ If deported, excluded, or allowed to voluntarily return to country of origin, not reenter·t United States illegally; supervision waived upon
    deportation, exclusion or voluntary departure.                                          It
o Not transport, harbor, or assist undocumented aliens.
o   Not associate with undocumented aliens or alien smugglers.
o   Not reenter the United States illegally.
o   Not enter or reside in the Republic of Mexico without written permission of the Court ot probation officer.
o   Report all vehicles owned or operated, or in which you have an interest, to the probatio~ officer.
o   Not possess any narcotic drug or controlled substance without a lawful medical prescription.
o   Not associate with known users of, smugglers of, or dealers in narcotics, controlled sUbfinces, or dangerous drugs in any form.

o   Participate in a program of mental health treatment as directed by the probation Office~rl~
                                                                                             ake all medications as prescribed by a
    psychiatrist/physician, and not discontinue any medication without permission. The Co authorizes the release of the presentence report
    and available psychological evaluations to the mental health provider, as approved by      probation officer. Allow for reciprocal release of
    information between the probation officer and the treatment provider. May be required . contribute to the costs of services rendered in an
    amount to be determined by the probation officer, based on the defendant's ability to pay.
o   Take no medication containing a controlled substance without valid medical preSCriPtiot·, and provide proof of prescription to the probation
    officer, if directed.                                                                  .
o   Provide complete disclosure of personal and business financial records to the probation ~fficer as requested.
o   Be prohibited from opening checking accounts or incurring new credit charges or openiJg additional lines of credit without approval of the
    probation officer.                                                                       'I
o   Seek and maintain full time employment and/or schooling or a combination of both.
o Resolve all outstanding warrants within days.
o Complete hours of community service in a program approved by the probation officer within
o   Reside in a Residential Reentry Center (RRC) as directed by the probation officer for a ~eriOd of

o   Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling, as directed by the
    probation officer. Allow for reciprocal release of information between the probation offter and the treatment provider. May be required to
    contribute to the costs of services rendered in an amount to be determined by the probati( officer, based on the defendant's ability to pay.




                                                                                                                                  13CR4544-DMS
